               Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 1 of 9



 1   JAEMIN CHANG (SBN 232612)
     JChang@FoxRothschild.com
 2   FOX ROTHSCHILD LLP
     345 California Street, Suite 2200
 3   San Francisco, CA 94104-2670
     Telephone:     415.364.5540
 4   Facsimile:     415.391.4436
 5   JEFF NICHOLAS (Pro Hac Vice To Be Filed)
     jnicholas@FoxRothschild.com
 6   FOX ROTHSCHILD LLP
     2000 Market Street, Twentieth Floor,
 7   Philadelphia, PA 19103
     Telephone: (215) 299-2000
 8
     GUY LEWIS (Pro Hac Vice To Be Filed)
 9   glewis@lewistein.com
     THE LAW OFFICES OF GUY A. LEWIS
10   12575 SW 67th Avenue
     Pinecrest, FL, 33156
11   Telephone: (305) 442-1101
12   Attorneys for Claimants First 100, LLC,
     1st One Hundred Holdings, LLC, and
13   Battle Born Investments Company, LLC
14

15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18                                                     Case No. 20-7811-RS
     UNITED STATES OF AMERICA,
19                                                     VERIFIED ANSWER BY FIRST 100, LLC
                    Plaintiff,
                                                       AND 1ST ONE HUNDRED HOLDINGS,
20                                                     LLC
             v.
21
     Approximately 69,370 Bitcoin (BTC),
22                                                     Judge: Hon. Richard Seeborg
     Bitcoin Gold (BTG), Bitcoin SV (BSV), and
     Bitcoin Cash (BCH) seized from                    Courtroom: 3
23                                                     Case Filed: November 5, 2020
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hb
                                                       FAC Filed: November 20, 2020
24   hx,                                               Trial Date:   TBD
25                 Defendant.
     First 100, LLC, and 1st One Hundred
26   Holdings, LLC,
27                  Claimants.
28
     VERIFIED ANSWER BY FIRST 100, LLC AND                                   Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC               -1-
     121396797.v1
                  Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 2 of 9



 1           Claimants First 100, LLC. and 1st One Hundred Holdings, LLC., having duly filed their
 2   claim of interests in the above-captioned lawsuit on March 16, 2021, by and through their
 3   undersigned counsel, hereby file their joint Verified Answer as follows:
 4                                      NATURE OF THE ACTION
 5           1.       The Claimants assert that the allegations in Paragraph No. 1 of the Plaintiff’s
 6   amended complaint describe the statutory bases to bring this civil action. Those are legal
 7   conclusions to which no responses are required. To the extent that an answer is required,
 8   Claimants lack sufficient information to admit or deny the allegations in Paragraph No. 1 and, on
 9   that basis, the Claimants deny them.
10                                     JURISDICTION AND VENUE
11           2.       The Claimants assert that the allegations in Paragraph No. 2 of the Plaintiff's
12   amended complaint are legal conclusions to which no responses are required. To the extent that
13   an answer is required, the Claimants aver that they lack sufficient information and belief to admit
14   or deny and therefore deny the allegations of Paragraph No. 2.
15           3.       The Claimants assert that the allegations in Paragraph No. 3 of the Plaintiff's
16   amended complaint are legal conclusions to which no responses are required. To the extent that
17   an answer is required, the Claimants aver that they lack sufficient information and belief to admit
18   or deny and therefore deny the allegations of Paragraph No. 3.
19           4.       The Claimants assert that the allegation in Paragraph No. 4 of the Plaintiff's
20   amended complaint are legal conclusions to which no response is required. To the extent that an
21   answer is required, the Claimants aver that they lack sufficient information and belief to admit or
22   deny and therefore deny the allegations of Paragraph No. 4.
23                                                 PARTIES
24           5.       The Claimants admit the allegations in paragraph No. 5 of the Plaintiff’s amended
25   complaint.
26           6.       With respect to the allegations in paragraph No. 6 of the Plaintiff's amended
27   complaint, the Claimants admit that the Defendant Property identified in this action is comprised
28   of the following:
     VERIFIED ANSWER BY FIRST 100, LLC AND                                            Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                     -2-
     121396797.v1
                  Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 3 of 9



 1                    a)     69,370,22491543 Bitcoin (BTC);
 2                    b)     69,370.10730857 Bitcoin Gold (BTG);
 3                    c)     69,370,10710518 Bitcoin SV (BSV); and
 4                    d)     69,3700.12818037 Bitcoin Cash (BCH)
 5   all of which were contained in Bitcoin wallet/folder/account number
 6   IHQ3G03ggs8pFnXuHVHRytPCq5fGG8Hbhx. By way of further answer, although the
 7   Claimants admit that the Plaintiff seized the above-referenced Bitcoin, the Claimants lack
 8   sufficient information or knowledge to know the date and circumstances under which the seizure
 9   was accomplished; and, therefore, can neither admit nor deny those elements of Paragraph No. 6.
10   Collaterally, the Claimants assert that the value for each cache of Bitcoin and/or cryptocurrency,
11   referenced-above, continuously fluctuates, depending on market conditions; and that Claimants
12   assert their unfettered ownership interests in the inconstant value of the Defendant Property to
13   and through the date of final judgment by this Court.
14                                                 FACTS
15           7.       The Claimants assert that Paragraph No. 7 of the Plaintiff's amended complaint
16   comprises an historical narrative of the events leading up to the Government's seizure of the
17   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
18   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
19   7 and, on that basis, the Claimants deny them.
20           8.       The Claimants assert that Paragraph No. 8 of the Plaintiff's amended complaint
21   comprises an historical narrative of the events leading up to the Government's seizure of the
22   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
23   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
24   8 and, on that basis, the Claimants deny them.
25           9.       The Claimants assert that Paragraph No. 9 of the Plaintiff's amended complaint
26   comprises an historical narrative of the events leading up to the Government's seizure of the
27   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
28
     VERIFIED ANSWER BY FIRST 100, LLC AND                                          Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                    -3-
     121396797.v1
               Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 4 of 9



 1   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 2   9 and, on that basis, the Claimants deny them.
 3           10.    The Claimants assert that Paragraph No. 10 of the Plaintiff's amended complaint
 4   comprises an historical narrative of the events leading up to the Government's seizure of the
 5   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
 6   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 7   10 and, on that basis, the Claimants deny them.
 8           11.    The Claimants assert that Paragraph No. 11 of the Plaintiff’s amended complaint
 9   comprise an historical narrative of the events leading up to the Government's seizure of the
10   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
11   sufficient information or knowledge to admit or deny the allegations in Paragraph No. 11 and on
12   that basis, the Claimants deny them.
13           12.    The Claimants assert that Paragraph No. 12 of the Plaintiff's amended complaint
14   comprise an historical narrative of the events leading up to the Government's seizure of the
15   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
16   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
17   12 and, on that basis, the Claimants deny them.
18           13.    The Claimants assert that Paragraph No. 13 of the Plaintiff's amended complaint
19   comprises an historical narrative of the events leading up to the Government's seizure of the
20   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
21   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
22   13 and, on that basis, the Claimants deny them.
23           14.    The Claimants assert that Paragraph No. 14 of the Plaintiff's amended complaint
24   comprises an historical narrative of the events leading up to the Government's seizure of the
25   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
26   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
27   14 and, on that basis, the Claimants deny them.
28
     VERIFIED ANSWER BY FIRST 100, LLC AND                                         Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                     -4-
     121396797.v1
               Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 5 of 9



 1           15.    The Claimants assert that Paragraph No. 15 of the Plaintiff's amended complaint
 2   comprises an historical narrative of the events leading up to the Government's seizure of the
 3   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
 4   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 5   15 and, on that basis, the Claimants deny them.
 6           16.    The Claimants assert that Paragraph No. 16 of the Plaintiff's amended complaint
 7   comprises an historical narrative of the events leading up to the Government's seizure of the
 8   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
 9   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
10   16 and, on that basis, the Claimants deny them.
11           17.    The Claimants assert that Paragraph No. 17 of the Plaintiff's amended complaint
12   comprises an historical narrative of the events leading up to the Government's seizure of the
13   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
14   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
15   17 and, on that basis, the Claimants deny them.
16           18.    The Claimants assert that Paragraph No. 18 of the Plaintiff's amended complaint
17   comprises an historical narrative of the events leading up to the Government's seizure of the
18   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
19   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
20   18 and, on that basis, the Claimants deny them.
21           19.    The Claimants assert that Paragraph No. 19 of the Plaintiff's amended complaint
22   comprises an historical narrative of the events leading up to the Government's seizure of the
23   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
24   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
25   19 and, on that basis, the Claimants deny them.
26           20.    The Claimants assert that Paragraph No. 20 of the Plaintiff's amended complaint
27   comprises an historical narrative of the events leading up to the Government's seizure of the
28   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
     VERIFIED ANSWER BY FIRST 100, LLC AND                                         Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                     -5-
     121396797.v1
                  Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 6 of 9



 1   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 2   20 and, on that basis, the Claimants deny them.
 3           21.      The Claimants assert that Paragraph No. 21 of the Plaintiff's amended complaint
 4   comprises an historical narrative of the events leading up to the Government's seizure of the
 5   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
 6   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
 7   21 and, on that basis, the Claimants deny them.
 8           22.      The Claimants assert that Paragraph No. 22 of the Plaintiff's amended complaint
 9   comprises an historical narrative of the events leading up to the Government's seizure of the
10   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
11   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
12   22 and, on that basis, the Claimants deny them.
13           23.      The Claimants assert that Paragraph No. 23 of the Plaintiff's amended complaint
14   comprises an historical narrative of the events leading up to the Government's seizure of the
15   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
16   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
17   23 and, on that basis, the Claimants deny them. By way of further answer the Claimants assert
18   that Individual X could not consent to the transfer/forfeiture of the Defendant Property to the
19   benefit of the United States because he had no property interests and/or rights in the Defendant
20   Property at the time that he executed the consent agreement.
21           24.      The Claimants assert that Paragraph No. 24 of the Plaintiff's amended complaint
22   comprises an historical narrative of the events leading up to the Government's seizure of the
23   Defendant Property to which the Claimants were/are not privy. Therefore, the Claimants lack
24   sufficient information or knowledge to admit or deny the allegations contained in paragraph No.
25   24 and on that basis, the Claimants deny them.
26                                             VIOLATION
27           a.       Each of the unnumbered paragraphs of the Plaintiff’s amended complaint under
28   the “Violation” heading identify the various federal criminal statutes that implicate the
     VERIFIED ANSWER BY FIRST 100, LLC AND                                           Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                     -6-
     121396797.v1
                  Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 7 of 9



 1   Defendant Property as criminally-derived and/or criminally-involved assets subject to seizure
 2   and forfeiture. Therefore, no response is required.
 3           b.       In the penultimate, unnumbered paragraph of the amended complaint, the Plaintiff
 4   alleges that the Defendant Property is subject to forfeiture pursuant to: 18 U.S.C. § 981 (a)(1)(A)
 5   and (C) and § 981(b); 21 U.S.C. § 881 (a)(6); 18 U.S.C. § 1030; and 18 U.S.C. § 371. The
 6   Claimants fully and categorically deny that the assets comprising the Defendant Property are
 7   subject to forfeiture because the Claimants hold judicially-declared superior property interests in
 8   those assets, en toto, based on, among other things, the Claimants’ victim status and the
 9   Claimants’ bona fide and pre-existing property interests in the Defendant Property.
10           c.       The Claimants fully and categorically deny any and all allegations, contained in
11   the Plaintiff's amended complaint, not specifically admitted above.
12                                      AFFIRMATIVE DEFENSES
13                                  FIRST AFFIRMATIVE DEFENSE
14           The Plaintiff's amended complaint fails to state a claim from which relief can be granted.
15                                 SECOND AFFIRMATIVE DEFENSE
16           The Plaintiff lacks standing to participate in this lawsuit.
17                                  THIRD AFFIRMATIVE DEFENSE
18           Any judgment imposed by this Court that contravenes or extinguishes the
19

20

21                                 FOURTH AFFIRMATIVE DEFENSE
22           The Claimants are innocent owners who did not know, or have reason to know, that the
23   Defendant Property was proceeds of, or involved in, criminal activity.
24                                  FIFTH AFFIRMATIVE DEFENSE
25           The Claimants were not involved in any way in criminal behavior as relates to the
26   circumstances described in the Plaintiff’s amended complaint.
27   //
28   //
     VERIFIED ANSWER BY FIRST 100, LLC AND                                           Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                     -7-
     121396797.v1
               Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 8 of 9



 1                                  SIXTH AFFIRMATIVE DEFENSE
 2           The Claimants acted in good faith at all times relevant to matters described in the
 3   amended complaint.
 4                               SEVENTH AFFIRMATIVE DEFENSE
 5           The Plaintiff is estopped from pursuing this civil forfeiture because it has failed to
 6   conduct an adequate investigation.
 7                           CLAIMANTS’ DEMAND FOR A JURY TRIAL
 8           The Claimants demand a trial by jury of all triable issues.
 9
      Dated: April 5, 2021                           FOX ROTHSCHILD LLP
10

11                                            By:      /s/ Jaemin Chang
                                                     JAEMIN CHANG
12                                                   JEFF NICHOLAS (Pro Hac Vice To Be Filed)
13

14    Dated: April 5, 2021                           THE LAW OFFICES OF GUY A. LEWIS

15                                            By:      /s/ Guy A. Lewis
                                                     GUY A. LEWIS
16                                                   (Pro Hac Vice To Be Filed)
17

18

19

20

21

22

23

24

25

26

27

28
     VERIFIED ANSWER BY FIRST 100, LLC AND                                            Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                    -8-
     121396797.v1
              Case 3:20-cv-07811-RS Document 64-4 Filed 04/05/21 Page 9 of 9



 1                                                VERIFICATION
 2

 3          I, the undersigned, certify and declare that I have read the foregoing Verified Answer and
     know its contents. The matters stated in the foregoing document are true of my own knowledge
 4
     and belief except as to those matters explicitly stated on information and belief, and as to those
 5
     matters, I believe them to be true.
 6
            I declare under penalty of perjury under the laws of the United States of America that the
 7   foregoing is true and correct to the best of my knowledge. I understand that a false statement or
 8   claim may subject a person to prosecution.

 9
            Dated: April 5, 2021                   FIRST 100, LLC
10

11
                                                           By:
12                                                               Jay Bloom, Manager
                                                                 SJC VENTURES HOLDING LLC
13

14

15                                                         1st ONE HUNDRED HOLDINGS, LLC

16
                                                           By:
17                                                               Jay Bloom, Manager
18                                                               SJC VENTURES HOLDING LLC

19

20

21

22

23

24

25

26

27

28
     VERIFIED ANSWER BY FIRST 100, LLC AND                                           Case No. 20-7811-RS
     1ST ONE HUNDRED HOLDINGS, LLC                   -9-
